           Case 1:15-vv-00984-UNJ Document 28 Filed 05/27/16 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-984V
                                      Filed: April 22, 2016
                                         UNPUBLISHED

****************************
LISA KREISLE,                           *
                                        *
                    Petitioner,         *        Ruling on Entitlement; Concession;
v.                                      *        Influenza (“Flu”) Vaccination; Cosmetic
                                        *        Defect; Subcutaneous Tissue Loss;
SECRETARY OF HEALTH                     *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                     *
                                        *
                    Respondent.         *
                                        *
****************************
William E. Cochran, Jr., Black McLaren, et al., PC, for petitioner.
Alexis B. Babcock, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On September 4, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that that her September 22, 2014 influenza (“flu”)
vaccination caused her to suffer a “skin infection with scaring [sic] and tissue loss
leading to disfigurement and numbness and tingling in her left arm and fingers.” Petition
at 1. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

       On March 24, 2016, respondent filed her Rule 4(c) report in which she concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 2. Specifically, respondent “has determined that compensation is appropriate with
respect to a 5-7mm cosmetic defect and subcutaneous tissue loss that was caused in


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:15-vv-00984-UNJ Document 28 Filed 05/27/16 Page 2 of 2



fact by the flu vaccine she received on September 22, 2014.”3 Id. at 3. Respondent
further agrees that no other causes for petitioner’s “skin defect” have been identified
and that petitioner suffered the sequela of her injury for more than six months. Id.
Respondent also indicated that “based on the record as it now stands, petitioner has
satisfied all legal prerequisites for compensation under the Act.” Id.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                       s/Nora Beth Dorsey
                                       Nora Beth Dorsey
                                       Chief Special Master




3
  “Although respondent did not agree that petitioner suffered from ongoing numbness and tingling as a
result of her alleged vaccine-related injury, the parties did not feel that a factual determination was
required from the Court in order to resolve damages.” See Informal Communication dated April 22, 2016.
                                                        2
